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Fill in this information to identify the case

Debtor 1 Leslie T Augustyn AKA Leslie Augustyn, AKA Leslie Thomas Augustyn

Debtor 2 Marcia J Augustyn AKA Marcia Jean Augustyn, AKA Marcia Augustyn
(Spouse, if filing)

United States Bankruptcy Court for the: SOUTHERN District of IL
                                                                            (State)
Case number 19-30899


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               Mortgage Research Center, LLC d/b/a Veterans
                               United Home Loans, a Missouri Limited Liability
Name of creditor               Company                                                Court claim no. (if known)            10
                                                                                      Date of payment change
Last four digits of any number                                                        Must be at least 21 days after date of         11/1/2020
you use to identify the debtor's                                                      this notice
account:                                8939
                                                                                      New total payment:
                                                                                      Principal, interest, and escrow, if any        $1,454.96
Part 1:           Escrow Account Payment Adjustment

  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $573.33       New escrow payment:      $283.76

Part 2:           Mortgage Payment Adjustment

  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                              %           New interest rate:                                    %

           Current principal and interest payment: $                       New principal and interest payment: $

Part 3:           Other Payment Change




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 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect)

         Reason for change:

         Current mortgage payment: $                                   New mortgage payment: $




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Debtor 1        Leslie T Augustyn AKA Leslie Augustyn, AKA Leslie Thomas Augustyn                                             Case
number (if known) 19-30899
           First Name                      Middle Name      Last Name



Part 4:             Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box.
          I am the creditor.
          I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

 X     /s/Stephen R. Franks                                                  Date    10/07/2020
     Signature

 Print:                 Stephen R. Franks                                    Title   Attorneys for Creditor

 Company                 Manley Deas Kochalski LLC

 Address                 P.O. Box 165028
                        Number             Street

                         Columbus OH 43216-5028
                        City                        State     ZIP Code

 Contact phone            614-220-5611                                       Email    amps@manleydeas.com




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Payment Change

was served on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Russell C. Simon, Chapter 13 Trustee, 24 Bronze Pointe, Swansea, IL 62226,
   rsimon@simonch13trustee.com

   Jerry D Graham Jr, Attorney for Leslie T Augustyn AKA Leslie Augustyn, AKA Leslie
   Thomas Augustyn and Marcia J Augustyn AKA Marcia Jean Augustyn, AKA Marcia
   Augustyn, JD Graham PC, 1 Eagle Center, Suite 3A, O'Fallon, IL 62269,
   court@jdgrahamlaw.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on October_07,
2020:

   Leslie T Augustyn AKA Leslie Augustyn, AKA Leslie Thomas Augustyn and Marcia J
   Augustyn AKA Marcia Jean Augustyn, AKA Marcia Augustyn, 76 Annebriar Dr, Maryville,
   IL 62062


                                                      /s/Stephen R. Franks




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                                                          PO Box 77404
                                                          Ewing, NJ 08628




                             Redacted
                 LESLIE T AUGUSTYN
                 MARCIA J AUGUSTYN
                 PO BOX 302
                                                                                                                  08/25/20
                 WORDEN IL 62097-0302
                                                                                                                  LOAN NO:
                                                                                                                                  Redacted
                     RedactedRedacted                                                                             https://my.veteransunited.com
                                                                                                                  Customer Service 877-629-6992
                                                                                                                                                            Page 1 of 2



                    Please see the enclosed insert "Understanding Your Escrow Account Disclosure Statement". This handy guide is intended to
                    help you understand your statement and answer some commonly asked questions about your escrow analysis.

                                        ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
          As you know, we are required to maintain an escrow account which is used to pay your real estate taxes and/or insurance premiums. This account must be
          analyzed annually to determine whether enough funds are being collected monthly, and whether the account has a shortage or surplus based on the
          anticipated activity.
                                                             PRESENT LOAN PAYMENT
          Your present payment, 04/01/20 consists of: Principal & Interest (P & I)                                 $1,171.20
                                                      Escrow Deposit                                                 $573.33
          Total Loan Payment                                                                                       $1,744.53


                                              ANTICIPATED ANNUAL DISBURSEMENTS
          These are the escrow items we anticipate we will collect for or pay on your behalf in the upcoming 12 month period. The dollar amount shown may be the
          last amount actually paid for that item, or may project the next amount due as defined by Federal law. Based on these anticipated disbursements, the
          amount of your escrow deposit is calculated and displayed here.


          Bills due in the upcoming year:                     Hazard Ins                        $3,405.06
                                                              County Tax                            $0.03

                                  Annual Disbursements:                                         $3,405.09
Redacted    Bills Due Outside of the Upcoming Year:                                                   $0.01
Redacted                              Total Disbursements:                                       $3,405.10        One-Twelfth/Monthly Amount: $283.76
Redacted
Redacted
Redacted                                                              ACCOUNT HISTORY
Redacted
Redacted This section is the actual activity that occurred between 08/19 through 10/19. It represents the period of time between the last analysis statement date and
Redacted
Redacted the last analysis effective date. Over this period, an additional $0.00 was deposited into your escrow account for interest on escrow.
Redacted
Redacted                                                    Actual                         Actual                      Actual
Redacted                                                    Escrow                        Escrow                      Escrow
Redacted                    Month                          Payments                   Disbursements                Description                           Balance
Redacted
                                                                                                                   Beginning Balance                    $1,741.28
                           AUG 2019                            0.00                           242.44               R.E. TAX                               1,498.84
                           SEP 2019                            0.00                           242.44               R.E. TAX                               1,256.40
                           OCT 2019                          661.24                             0.00                                                      1,917.64

          The following statement of activity in your escrow account from 11/19 through 10/20 displays actual activity as it occurred in your escrow account during
          that period. Your monthly mortgage payment was $1,744.53 and $573.33 went into your escrow account. If you received Account Projections with a prior
          analysis, they are included again here for comparison.




      x                                                      *** CONTINUED ON REVERSE SIDE ***


                                                                              SURPLUS
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                                                                ** CONTINUATION **


                               Payments                            Disbursements                                        Projected Escrow Actual Escrow
Month              Projected              Actual            Projected          Actual         Description               Account Balance Account Balance
                                                                                           Beginning Balance                   $2,322.97           $1,917.64
NOV    2019           573.33              661.24 *           1,297.31             242.44 * R.E. TAX                             1,598.99            2,336.44
DEC    2019           573.33              661.24 *                                                                              2,172.32            2,997.68
JAN    2020           573.33              573.33                                                                                2,745.65            3,571.01
FEB    2020           573.33              573.33                                 3,405.06 * HAZARD INS                          3,318.98              739.28
MAR    2020           573.33              573.33             2,745.65                     * HAZARD INS                          1,146.66            1,312.61
APR    2020           573.33              573.33                                                                                1,719.99            1,885.94
MAY    2020           573.33              573.33                                                                                2,293.32            2,459.27
JUN    2020           573.33              573.33               242.44                      * R.E. TAX                           2,624.21            3,032.60
 JUL   2020           573.33              573.33                                                                                3,197.54            3,605.93
AUG    2020           573.33            3,439.98 E*          1,297.31                      E* R.E. TAX                          2,473.56            7,045.91
SEP    2020           573.33              573.33 E           1,297.31                      E* R.E. TAX                          1,749.58            7,619.24
OCT    2020           573.33              573.33 E                                         E                                    2,322.91            8,192.57

An asterisk (*) beside an amount indicates a difference from projected activity either in the amount or the date. Please note since mortgage insurance is
paid monthly on the annual renewal date of the premium and PMI is paid monthly for the prior month’s premium, additional asterisks report in the Account
History for these items, if applicable. The letter "E" beside an amount indicates that the payment or disbursement has not yet occurred, but is estimated to
occur as shown.

Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $6,880.02. Under Federal Law, your
lowest monthly balance should not have exceeded $1,146.66, or 1/6th of total anticipated payments from the account, unless your loan contract or State law
specifies a lower amount.

Under your loan contract and State law your lowest monthly balance should not have exceeded $1,146.66.


                                                      ACCOUNT PROJECTIONS
The following estimate of activity in your escrow account from 11/20 through 10/21 is provided for your information. All payments we anticipate receiving as
well as disbursements we anticipate making on your behalf are included, along with the Projected Escrow Account Balance, derived by carrying forward
your current actual escrow balance. The Required Escrow Account Balance displays the amount actually required to be on hand as specified by Federal
law, State law and your loan documents, and may include a cushion of up to 1/6th of your Annual Disbursements. Please retain this statement for
comparison with the actual activity in your account at the end of the next escrow account computation year.
                                        Anticipated Amount                                                  Projected Escrow       Required Escrow
    Month                      To Escrow               From Escrow              Description                 Account Balance        Account Balance
                                                                                Beginning Balance                  $8,192.57               $2,553.78
    NOV    2020                     283.76                                                                          8,476.33                2,837.54
    DEC    2020                     283.76                                                                          8,760.09                3,121.30
    JAN    2021                     283.76                                                                          9,043.85                3,405.06
    FEB    2021                     283.76                                                                          9,327.61                3,688.82
    MAR    2021                     283.76                  3,405.06            HAZARD INS                          6,206.31                  567.52
    APR    2021                     283.76                                                                          6,490.07                  851.28
    MAY    2021                     283.76                                                                          6,773.83                1,135.04
    JUN    2021                     283.76                      0.01            R.E. TAX                            7,057.58                1,418.79
     JUL   2021                     283.76                                                                          7,341.34                1,702.55
    AUG    2021                     283.76                      0.01            R.E. TAX                            7,625.09                1,986.30
    SEP    2021                     283.76                      0.01            R.E. TAX                            7,908.84                2,270.05
    OCT    2021                     283.76                                                                          8,192.60                2,553.81

Your Projected Escrow Account Balance as of 10/31/20 is $8,192.57. Your Required Beginning Escrow Balance according to this analysis should
be $2,553.78.
This means you have a Surplus of $5,638.79. This surplus must be returned to you unless it is less than $15.00, in which case we have the additional option
of keeping it and lowering your monthly payments accordingly. Due to the delinquent status of your account, however, we will retain your surplus.
Once during this period, your Required Escrow Account Balance should be reduced to $567.52 as shown in March. This amount represents the cushion
selected by us as allowed by your loan contract, Federal and State law.


                                                         NEW LOAN PAYMENT
Your new payment consists of:                         Principal & Interest (P & I)                          $1,171.20
                                                      Escrow Deposit                                          $283.76
New Loan Payment                                      Beginning on November 1, 2020                         $1,454.96




                                                       *** CONTINUED ON NEXT PAGE ***
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                                                                 ** CONTINUATION **                                                              Page 2 of 2


  Important Notes:

  Automatic Draft Customers: If you’re enrolled in Automatic Drafting, any additional principal deductions you have previously authorized are not included
  in the above listed new payment amount. However, until we are otherwise advised, the authorized additional principal amount will continue to be withdrawn
  from your account.

  Adjustable Rate Mortgage Customers: If your loan has an adjustable interest rate your monthly principal and interest payment may change prior to your
  next Escrow Analysis.

  Insurance Renewal/Changing Insurance Companies : Upload proof of insurance coverage at www.MyCoverageInfo.com using PIN              Redacted
  TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO THE AUTOMATIC STAY IN A BANKRUPTCY PROCEEDING,
  THIS LOAN STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN
  ATTEMPT TO COLLECT INDEBTEDNESS AS YOUR PERSONAL OBLIGATION.

  Should you have any questions about this Escrow Analysis, please call our Customer Service Department at 877-629-6992.




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